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                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

    UNITED STATES OF AMERICA,                  )
                                               )
                                               )
    V.                                         )    CRIM. NOS. 2:18-CR-37-DBH-01
                                               )         AND 2:19-CR-05-DBH
    RYAN LANDERS,                              )
                                               )
                            DEFENDANT          )

               DECISION AND ORDER ON AMENDED MOTION FOR
                         COMPASSIONATE RELEASE

         Ryan Landers is imprisoned at FMC Devens.             On October 28, 2019, I

sentenced him to 36 months in prison. Judgment, No. 2:18-cr-37-DBH-01 (ECF

No. 152). His projected release date is June 22, 2022. Def.’s Am. Mot. at 2 (ECF

No. 168). According to the Revised Presentence Report prepared in connection

with his 2019 sentencing, Landers was born in 1981 and is 39 years old.

Landers has moved to reduce his sentence to time served under 18 U.S.C.

§ 3582(c)(1)(A)(i), the so-called compassionate release provision as altered by the

First Step Act. Def.’s Am. Mot. at 6. I appointed counsel to assist him.

         Section 3582(c)(1)(A)(i), as amended by the First Step Act, allows a judge,

without a BOP motion, to reduce a sentence where “extraordinary and

compelling reasons warrant such a reduction.”1 Landers says that he

               has a history of cardiac conditions caused by endocarditis
               that resulted in major surgery to replace a valve in his heart
               and install a pacemaker. Two months prior to Defendant’s
               sentencing he had an additional surgery to repair an
               apparent malfunctioning of his pacemaker. Since that
               surgery Defendant must have his pacemaker regularly

1Landers has met the requirement that 30 days pass after the Warden receives his request. 18
U.S.C. § 3582(c)(1)(A).
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              checked, through a procedure called an interrogation, to
              ensure that the battery is functioning properly and that the
              unit is performing its intended function.
                     Defendant is currently at FMC Devens serving his
              sentence in these matters. Defendant has not had any
              disciplinary issues whi[le] in custody and has received
              regular medical treatment for his coronary conditions.
              Defendant is listed as having risk factors for COVID-19 in
              the form of heart disease.
                     Defendant’s pacemaker interrogation is conducted by
              an outside provider through St. Jude’s.

Def.’s Am. Mot. at 2-3 (citations omitted).            (I was aware of Landers’s heart

condition when I sentenced him.) At the time he filed his Amended Motion,

Landers had been told that his “interrogation” was being delayed on account of

the pandemic. Id. at 3. But it did take place on September 22, 2020, and his

primary care physician at Devens reports that he

              has done well with treatment. He currently functions in our
              general population unit in the prison facility here and is able
              to manage his activities of daily living independently, is
              physically active, and works in laundry services. He was
              seen in our pacemaker clinic on 9/22/20 and his cardiologist
              noted that his pacer [sic] was functioning well and that his
              pacemaker battery life was about 11 months. If needed, his
              pacemaker battery change can be done while incarcerated
              and is a minor outpatient procedure done at an outside
              hospital not requiring any special accommodations.
              Likewise, if the pacemaker needed replacement this would
              similarly be done as an outpatient and should not cause any
              significant disruptions to his ability to function in the facility.

Gov’t’s Opp’n Ex. A (ECF No. 173-1).

      BOP currently reports that FMC Devens has 0 inmates and 2 staff positive

for COVID-19 and 45 inmates and 6 staff who have recovered. See BOP, COVID-

19   Cases,    Federal    Bureau      of   Prisons    (last   updated     Oct.      19,   2020),

https://www.bop.gov/coronavirus/.

      In its response, the government relies solely upon the Sentencing

Commission’s policy statement in Guideline 1B1.13, cmt. n.1(A). See Gov’t’s
                                                                                               2
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Opp’n at 9.        I have previously ruled that the policy statement, which the

Commission has not changed to reflect the First Step Act,2 “provides helpful

guidance” but “is not ultimately conclusive given the statutory change.” United

States v. Fox, No. 2:14-cr-03-DBH, 2019 WL 3046086, at *3 (D. Me. July 11,

2019), aff’d, No. 19-1785 (1st Cir. July 23, 2020) (“the district court did consider

other relevant circumstances not specifically enumerated in the guidelines”).

The Second Circuit has ruled that the Guideline applies only to motions brought

by the Director of the Bureau of Prisons, not to motions for relief brought by

defendants, and that nothing limits judges’ discretion in considering “the full

slate of extraordinary and compelling reasons that an imprisoned person might

bring before them in motions for compassionate release,” except that

rehabilitation alone is not to be considered an extraordinary and compelling

reason. United States v. Brooker, No. 19-3218-CR, 2020 WL 5739712, at *7-8

(2d Cir. Sept. 25, 2020).

         I turn therefore to whether Landers has “extraordinary and compelling

reasons” to reduce his sentence to time served.

         Landers’s primary care physician gives a very balanced assessment of

Landers’s current situation. She writes:

                       Currently Mr. Landers does not have any of the CDC
                conditions which would put him at “high risk of severe illness
                from COVID 19”. While he does have a valve replacement
                and pacemaker, he does not have the serious heart
                conditions considered by the CDC, including heart failure,
                coronary heart disease or cardiomyopathy. CDC also reports
                conditions [which] “might increase risk for severe illness from
                COVID-19”.     This includes asthma, stroke, high blood
                pressure, liver disease, type I diabetes, dementia, for


2   Currently, the Commission lacks a quorum to amend the Guidelines.
                                                                                         3
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            example. Mr. Landers does not fall in any of these categories
            either.
                    ....
                    While he does not meet CDC criteria for increased risk
            of severe illness from COVID 19, there is certainly a
            theoretical basis for concern for more serious illness than an
            otherwise healthy 39 year old male would experience. It is
            thought that depression, which Mr. Landers is being treated
            for, can suppress the immune system. My experience is that
            individuals with substance abuse diagnoses are at higher
            risk for medical problems, possibly because of more than just
            poor self-care. Having a foreign body in the heart (valve,
            pacemaker) can serve as a focus of infection, particularly
            with bacteria. The impact of a virus, such as the SARS-COV2
            virus is unclear. These conditions present concerns which I
            believe would increase his risk of serious problems as
            compared to a healthy man of his age.
                    Unfortunately, Covid 19 is a new disease and there are
            limited data and information about the impact of underlying
            medical conditions and how they increase risk for life-
            threatening illness from COVID 19.

Gov’t’s Opp’n Ex. A. Although, as the doctor notes, there is “a theoretical basis”

for Landers to be concerned, his condition under current circumstances does

not amount to “extraordinary and compelling reasons” for his release at this early

point in his sentence, given the state of medical knowledge.

      The Amended Motion for Compassionate Release is DENIED.

      SO ORDERED.

      DATED THIS 20TH DAY OF OCTOBER, 2020

                                              /S/D. BROCK HORNBY
                                              D. BROCK HORNBY
                                              UNITED STATES DISTRICT JUDGE




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